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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                                  MARTINSBURG


  UNITED STATES OF AMERICA,

                Plaintiff,

  v.                                               CRIMINAL ACTION NO. 3:12-CR-57-3
                                                   (JUDGE GROH)

  CHARLES PAGE HAINES, III,

                Defendant.


                   ORDER GRANTING APPLICATION FOR SUBPOENA

         On this day, the above-styled matter came before the Court for consideration of

  Defendant’s Application for Subpoena pursuant to Federal Rule of Criminal Procedure

  17(b) [Doc. 109]. In support of his Application, Defendant argues that he has filed a

  Financial Affidavit and that he is unable to pay for witness fees and mileage. Defendant

  has indicated five individuals that are necessary for his defense. Therefore, Defendant

  requests that the Court order that the process costs and witness fees be paid in the same

  manner as those paid for witnesses that the Government subpoenas.

         Rule 17(b) of the Federal Rules of Criminal Procedures requires a court to issue a

  subpoena for a named witness if the defendant “shows an inability to pay the witness’s fees

  and the necessity of the witness’s presence for an adequate defense.” First, the Court

  finds that Defendant’s Financial Affidavit shows an inability to pay the witness’s fees.

  Second, Defendant asserts that the following five witnesses are necessary for his defense:

  (1) Adam Grady; (2) Penny Bradford; (3) Robert Suter; (4) Scott Burcher; and (5) Scotty

  Allen Burcher. Therefore, the Court also finds that the presence of the five individuals are
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  necessary for Defendant to have an adequate defense.

         Accordingly, pursuant to Federal Rule of Criminal Procedure 17(b), the Court

  GRANTS Defendant’s Application for Subpoena and ORDERS subpoenas to be issued as

  to the five individuals listed above. The process costs and witness fees will be paid in the

  same manner as those paid for witnesses the Government subpoenas.

         It is so ORDERED.

         The Clerk is directed to transmit copies of this Order to all counsel of record.

         DATED: January 22, 2013




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